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Binance.US Digital Asset & Custody
Operations Policy




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                    insufficient, the US Clearing employee requests the cold wallet transfer to .COM
                    employee in Wea, COM employee submits the transfer request in TSS and 4/7
                    private key owners will approve the transfer.



          5.2.10.   Cold to Fee Address

                    When the fee address is insufficient to pay the on-chain gas fee, the US
                    employee requests the cold wallet transfer to .COM employee in Wea, COM
                    employee submits the transfer request in TSS and 4/7 private key owners will
                    approve the transfer.



          5.2.11.   Cold to staking wallet

                    When there is a staking request, the US employee requests the cold wallet
                    transfer to .COM employee in Wea, COM employee submits the transfer request
                    in TSS and 4/7 private key owners will approve the transfer. Then the token
                    will be staked from the staking wallet to the node.



          5.2.12.   Post-upgrade/hardfork/outage/ maintenance Test

                    Once the upgrade/hardfork/outage/maintenance are done, we need to test the
                    withdrawal and deposit before the networks are resumed.




6. Digital Asset Management Framework &
   Policy
   6.1.      Allocation Framework for Hot vs. Cold Wallets

           6.1.1.   Thresholds & sizing methodology

                    Managing liquidity between the Firm’s hot & cold wallets ensures that we strike
                    the right balance between ‘on demand’ liquidity for daily customer withdrawals
                    vs. the added security of storing incremental funds above daily needs in offline /
                    cold wallets. Sizing of wallets is done on a coin & network combined basis (e.g.
                    USDC on Ethereum, USDC on Polygon etc.) driven by the fact that we allow our
                    users to deposit a coin on one network and withdraw it on a different network,
                    effectively acting like a ‘centralized bridge’ for the customer.

                    The current framework operates as follows:

                    Withdrawals and deposits (on a coin & network basis as discussed above) are

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7. Systems
   7.1.     Overview

          7.1.1.   Ceffu
                   We license wallet custody software and support services from Ceffu (previously
                   Binance Holdings Limited). The primary venue for datacenters & hosting data
                   for our users is in Virginia (specifically, Amazon Web Services (“AWS”) facilities
                   located in the US East region). The Ceffu solution makes up a majority of our
                   wallet technology and utilizes a form of TSS (Threshold Signature Scheme) that
                   is based on MPC (Multi-Party Computation) functionality.

          7.1.2.   BitGo
                   We currently utilize BitGo as a cold wallet and staking solution provider. BitGo
                   hosts its primary data centers in South Dakota in addition to an offshore
                   datacenter in place for disaster recovery purposes. BitGo uses a more traditional
                   MPC solution that involves a physical device on their side to sign transactions.

          7.1.3.   Other Technology Solutions
                   We continuously monitor the wallet technology landscape for best in class
                   products & services. We are currently researching the following wallet
                   products/vendors for future implementations:
                               ● Ledger Enterprise
                               ● Aegis
                               ● Anchorage

          7.1.4.   PNK

                           PNK is our internal system for managing our digital assets across the
                           company and customers. PNK is a proprietary tool developed in-house
                           that connects with the various aspects of our systems. Customer
                           Service, Compliance, Risk, and Fraud teams interact with this platform
                           as part of their day-to-day operations and it’s supported by our internal
                           development team.

   7.2.     Security Guidelines

            The security and safety of our customers and their assets is a top priority, as such we
            strive to maintain the most stringent cybersecurity program across the organization.
            While this is not an exhaustive list of all security measures in place we implement the
            following principles when securing digital assets. Please note we do not get into
            specifics of how these are implemented for security reasons. If more information is
            needed please refer to the Binance.US Digital Asset & Custody Security Standard or
            contact the Security Operations team.

          7.2.1.   Segregation of Duties

                   No employee is given enough privileges to misuse any digital asset system on
                   their own. This control splits processes among multiple people, with their own

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